                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )       No. 3:22-cr-00282
       v.                                           )
                                                    )       JUDGE RICHARDSON
[1] GLEN CASADA                                     )
[2] CADE COTHREN                                    )


             GOVERNMENT’S RESPONSE TO DEFENDANT COTHREN’S
               MOTION FOR ISSUANCE OF A RULE 17 SUBPOENA

       The United States of America, through undersigned counsel, hereby responds to defendant

Cade Cothren’s motion for trial subpoenas pursuant to Federal Rule of Criminal Procedure 17(c).

ECF No. 46. The government does not oppose the defendant’s request.

       The defendant seeks to serve trial subpoenas on Verizon Communications, Inc., and

Confide, Inc., for pretrial production of personal telephone and messaging records associated with

a potential trial witness for the time period of February 1, 2019, through January 31, 2020. ECF

No. 46 at 4-5. A defendant can “subpoena materials using a Rule 17(c) subpoena only if four

conditions are met.” United States v. Llanez-Garcia, 735 F.3d 483, 494 (6th Cir. 2013) (citing

United States v. Nixon, 418 U.S. 683, 699 (1974)). “First, the items must be evidentiary and

relevant.” Id. “Second, the items may not be otherwise procurable through due diligence prior

to trial.” Id. “Third, the requesting party must be unable to properly prepare for trial without

such pre-trial production and inspection.” Id. “And, finally, the application must be made in

good faith and not amount to a ‘fishing expedition.’” Id. “[W]hen the subpoenaed items arrive,

‘the court may permit the parties and the attorneys to inspect all or part of them.’” Id. (quoting

Fed. R. Crim. P. 17(c)(1)). Under these factors, the government does not oppose the defendant’s

request for a Rule 17 subpoena for the documents identified in his motion.




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        The defendant “asks that the requested documents be provided either to undersigned

counsel or to the Court.” ECF No. 46 at 12. The government does not object to the records being

provided directly to defense counsel provided that, consistent with Rule 17(c)(1), the Court order

counsel to disclose all the materials they receive pursuant to the subpoenas to both the government

and co-defendant Glen Casada within one week of receiving them.

        Finally, given the personal and sensitive nature of the records that the defendant seeks to

subpoena, the government requests that the Court place all records produced by the subpoenaed

entities under the same restrictions set forth in Paragraphs 1-4 and 6 of the Protective Order. See

ECF No. 23.



Respectfully submitted,

        HENRY C. LEVENTIS                                    COREY R. AMUNDSON
        United States Attorney                               Chief
        Middle District of Tennessee                         Public Integrity Section

By:                                                  By:

        /s/ Amanda J. Klopf______________                    /s/ John P. Taddei_________
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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing response was electronically filed with

the Clerk on June 15, 2023, and service was made upon all persons registered in that case via

CM/ECF and/or by email.


                                                             /s/ John P. Taddei_________
                                                             JOHN P. TADDEI
                                                             Trial Attorney




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